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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 1:22-mj-00162
                                               :
WILLIAM MELLORS                                :
                                               :
                       Defendant.              :


                                              ORDER

       Based upon the representations in the Consent Motion to Vacate, Continue and Exclude

Time Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status conference on January 26, 2023, be

VACATED and CONTINUED for good cause to February 23, 2023, at 1 p.m.; and it is further

       ORDERED that the time between January 26, 2023, and February 23, 2023, shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court

finds that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the

parties additional time to continue negotiating a potential pretrial resolution.
                                                                       Zia M. Faruqui
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                                               _____________________________________

                                               UNITED STATES MAGISTRATE JUDGE
